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Stephen E. Hessler, P.C.                                  Thomas M. Farrell (admitted pro hac vice)
Chad J. Husnick, P.C.                                     K. Elizabeth Sieg (admitted pro hac vice)
Jennifer Levy (admitted pro hac vice)                     Joseph Florczak (admitted pro hac vice)
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Co-Counsel for Navient Solutions, LLC



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         )
    In re                                                )       Chapter 11
                                                         )
                                                         )
    NAVIENT SOLUTIONS, LLC,                              )       Case No. 21-10249 (MG)
                                                         )
                            Putative Debtor.             )
                                                         )

            AMENDED1 AGENDA FOR APRIL 22, 2021 TELEPHONIC HEARING

    Time and Date of Hearing:         April 22, 2021 at 10:00 a.m. (prevailing Eastern Time)

    Telephonic Only Hearing:          In accordance with General Order M-543 (“General Order M-543”),
                                      dated March 20, 2020, the Hearing will only be conducted
                                      telephonically. Any parties wishing to participate in the Hearing must
                                      make arrangements through CourtSolutions LLC. Instructions to
                                      register for CourtSolutions LLC are attached to General Order M-543.
                                      Please register with Court Solutions at www.court-solutions.com.
    Copies of Motions:                A copy of each pleading can be viewed on the Court’s website at
                                      http://www.nysb.uscourts.gov).




1     Amended items will appear in bold text.
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I.   CONTESTED MATTER GOING FORWARD:

     1.   Motion for Attorneys’ Fees and Costs. Motion for Attorneys’ Fees and Costs
          Pursuant to 11 U.S.C. §303(i) [Docket No. 54].

          Objection Deadline: April 15, 2021, at 4:00 p.m. (prevailing Eastern Time).

          Objections and Responses Received:

                 Appellants’ Notice of Motion Under FRBP 8007 for the Following Relief:
                 (A) A Stay of Enforcement of the Bankruptcy Court’s Dismissal Orders to
                 the Extent That Such Dismissal Orders Adjudicate Merits Issues - - Pending
                 the District Court’s Appellate Determination of A Threshold Subject Matter
                 Jurisdiction Issue as to Whether the Bankruptcy Court, Once it Declined to
                 Exercise Jurisdiction over the Involuntary Bankruptcy Case Under 11
                 U.S.C. 305 and Dismissed it Thereunder, Was Constitutionally Prohibited,
                 Under Article Iii of the United States Constitution, from Adjudicating Any
                 Merits Issues in A Jurisdictionally-Rejected, Involuntary Bankruptcy Case;
                 and (B) an Immediate Interim Stay - - Pending A Ruling on the Motion for
                 A Stay Pending Appeal [Docket No. 57].

                        i.      Order Denying Applications for Stay Pending Appeal
                                [Docket No. 59].

                 Alleged Debtor's Post-Dismissal Legal Fee Application under 11 U.S.C.
                 303(i)(1) against nonparty and its nonparty counsel (Dkt 54--56) - - pending
                 a Bankruptcy Court ruling on a stay pending appeal motion filed by
                 Petitioning Creditors and their counsel (Dkt 57) [Docket No. 58].

                        i.      Order Denying Applications for Stay Pending Appeal
                                [Docket No. 59].

                 Objection by Petitioning Creditors to Motion for Attorneys’ Fees and Costs
                 Pursuant to 11 U.S.C. §303(i) [Docket No. 60].

                 First Motion for Adjournment for Two Business Days to April 19, 2021 for
                 response to post-dismissal proceeding filed by alleged debtor against Public
                 Interest Capital, LLC, Michael B. Wolk and Law Offices of Michael B.
                 Wolk, P.C. [Docket No. 61].

                 Memorandum of Law for Nonparty Public Interest Capital LLC, and
                 Nonparty Counsel for Nonparty Public Interest Capital LLC, in Opposition
                 to the Alleged Debtor’s Post-Dismissal Legal Fee Shifting Liability Motion
                 Against Those Nonparties [Docket No. 63].

                 Application by PICAP NonParties (A) to Strike New Arguments in Navient
                 Reply Brief Filed Late Yesterday [Dkt 64] Or, Alternatively, to Grant Leave
                 to the PICAP NonParties to File a Sur-Reply, in Response to Navient New
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                 Arguments, by a Date to be Designated by the Court and, in Addition, (B)
                 for Court Consideration of the Legal Reasons Herein from the PICAP
                 Nonparties as an Authorized Sur-Reply to Navient New Arguments and (C)
                 Related Relief [Docket No. 66].

                 In re Navient Solutions, LLC (“Navient”), Case No. 21-10249 (MG)
                 PICAP Reply in Response to Navient Opposition to Application [Dkt
                 66] [Docket No. 69].

          Putative Debtors’ Pleadings and Related Documents:

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                 Attorneys' Fees and Costs Pursuant to 11 U.S.C. Section 303(i)
                 [Docket No. 55].

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                 Letter from Chad. J. Husnick to Judge Martin Glenn [Docket No. 62].

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                 Pursuant to 11 U.S.C. §303(i) [Docket No. 64].

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                 Objection to Application by PICAP NonParties (A) to Strike New
                 Arguments in Navient Reply Brief Filed Late Yesterday [Dkt 64] Or,
                 Alternatively, to Grant Leave to the PICAP NonParties to File a Sur-
                 Reply, in Response to Navient New Arguments, by a Date to be
                 Designated by the Court and, in Addition, (B) for Court Consideration
                 of the Legal Reasons Herein from the PICAP Nonparties as an
                 Authorized Sur-Reply to Navient New Arguments and (C) Related
                 Relief [Docket No. 68].

          Status: This matter is going forward.
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Dated: April 21, 2021

/s/ Stephen E. Hessler
Stephen E. Hessler, as President of Stephen E.    Thomas M. Farrell (admitted pro hac vice)
Hessler P.C., partner of Kirkland & Ellis LLP     K. Elizabeth Sieg (admitted pro hac vice)
Chad J. Husnick, P.C.                             Joseph Florczak (admitted pro hac vice)
Jennifer Levy (admitted pro hac vice)             MCGUIREWOODS LLP
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Co-Counsel for Navient Solutions, LLC
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                                     Exhibit A

              Redline to Agenda Filed on April 20, 2021 [Docket No. 67]
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Co-Counsel for Navient Solutions, LLC



UNITED STATES BANKRUPTCY COURT
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    In re                                                )       Chapter 11
                                                         )
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                 of the Legal Reasons Herein from the PICAP Nonparties as an
                 Authorized Sur-Reply to Navient New Arguments and (C) Related
                 Relief [Docket No. 68].

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Dated: April 2021, 2021

/s/ Stephen E. Hessler
Stephen E. Hessler, as President of Stephen E.   Thomas M. Farrell (admitted pro hac vice)
Hessler P.C., partner of Kirkland & Ellis LLP    K. Elizabeth Sieg (admitted pro hac vice)
Chad J. Husnick, P.C.                            Joseph Florczak (admitted pro hac vice)
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